Case 1:17-cv-00116-IMK-JPM Document 343 Filed 01/29/20 Page 1of1 PagelD #: 4502

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8. CASE NUMBER DATES OF PROCEEDINGS
1:17-cv-116 10. FROM 1 1E.TO 1
12. CASE NAME LOCATION OF PROCEEDINGS

B nv. 13. CITY 14.5T
15. ORDER FOR

APPEAL ( crimmat [LJ crIMINAL JUSTICE ACT (CJ BankruPTcy
NON-APPEAL CIVIL IN FORMA PAUPERIS OTHER

16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

DA
VOIR DIRE TESTIMONY
OPENING STATEMENT
OPENING STATEMENT
CLOSING ARGUMENT (Plaintiffy PRE-TRIAL PROCEEDING
CLOSING ARGUMENT (Defendant)
OPINION OF COURT
JURY INSTRUCTIONS OTHER
SENTENCING motion 1/23/2020
BAIL HEARING

17. ORDER

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